Case 2:04-cr-20452-.]PI\/| Document 28 Filed 04/22/05 Page 1 of 2 PagelD 31

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lN THE UNITED STATES DlSTRlCT COURT %
FOR THE WESTERN DISTRICT OF TENNESSEB§ ,.'3_?§-"\* 25 ,;l“-§ li;
WESTERN DlVlSlON

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P|aintif'f,
"S- cr. No. 04-20452»~\|

DARELL LESTER,

Defendant.

 

ORDER SUBST|TUT|NG DEFENSE COUNSEL

 

For good cause, the Court hereby orders that Attorney Bruce |. Griffey be
substituted for Attorney Linda Khurnalo as attorney of record for the defendant in this
case. N|r. Griffey is appointed to represent the defendant in accordance with the
Criminal Justice Act, Title 18 U.S.C. §3006/-\. Ms. Khumalo is hereby relieved from
further representation and obligation in this matter. The Clerk shall note |Vlr. Griffey as

attorney of record on the docket and forward all future notices to him.

nis so oRDERED,thisthe 32 day of Hjal\ ,2005.

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PH|PPS McCALLA
Jnited States District Court Judge

 

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UNITED sTATE DRISTIC COUR - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CR-20452 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Bruce I. Griffey

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Honorable J on McCalla
US DISTRICT COURT

